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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                       :       CRIMINAL NO. 19-

                v.                              :       DATE FILED:

 THOMAS J. WHALEN                               :       VIOLATIONS:
                                                :       18 U.S.C. § 1347 (health care fraud – 1
                                                :       count)
                                                :       18 U.S.C. § 545 (importation contrary to law
                                                :       – 1 count)
                                                :       21 U.S.C. § 841(a)(1) (distribution of a
                                                :       controlled substance – 2 counts)
                                                :       Notices of forfeiture

                                     INFORMATION

                                          COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

               At all times material to this Information:

               1.      Defendant THOMAS J. WHALEN was a doctor of osteopathy whose

practice area focused on the treatment of chronic conditions, such as rheumatoid arthritis,

inflammations, and chronic pain. Defendant WHALEN was licensed to practice medicine in the

State of Delaware and the Commonwealth of Pennsylvania.

               2.      Defendant THOMAS J. WHALEN owned Rheumatology Consultants,

P.C., doing business as Whalen Rheumatology Group (“WRG”), a Pennsylvania corporation

with offices located at 117 North Eagle Road, Havertown, Pennsylvania; 310 Exton Commons,

Exton, Pennsylvania; and 5223 West Woodmill Drive, # 41, Wilmington, Delaware.

               3.      Defendant THOMAS J. WHALEN and WRG participated in numerous

federal and private insurance health care plans, including the Medicare Program, federal health




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care plans paid for by the Office of Personnel Management, and private plans administered by

Independence Blue Cross.

               The Medicare Program

               4.      The Medicare Program (“Medicare”) was a federally-funded health care

program that provided benefits to persons who were at least 65 years old or disabled. Medicare

was administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal agency

under the United States Department of Health and Human Services (“HHS”). Individuals who

received benefits under Medicare were referred to as Medicare “beneficiaries.”

               5.      Medicare was a “health care benefit program” as defined in Title 18,

United States Code, Section 24(b).

               6.      Medicare was divided into multiple parts: Part A covered hospital

inpatient care, Part B covered physicians’ services and outpatient care, Part C was Medicare

Advantage Plans, and Part D covered prescription drugs. Medicare coverage for prescription

drugs was primarily provided under the voluntary Medicare Part D benefit. However, under

certain circumstances, Medicare covered a limited number of outpatient drugs under its Part B

benefit. This included drugs furnished incident to a physician’s service (that is, drugs that were

infused or injected in physicians’ offices or hospital outpatient settings).

               7.      In order for a drug to meet Medicare’s Part B coverage requirements, the

drug had to be in a form that was not usually self-administered, furnished by a physician, and

administered by the physician or auxiliary personnel employed by the physician and under the

physician’s personal supervision. Any charge for the drug was included in the physician’s claim

to Medicare as an expense to the physician. Additionally, the use of the drug must have been




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safe and effective and otherwise reasonable and necessary. Medicare considered FDA-approved

drugs safe and effective for purposes of this requirement when used as specified on the labeling.

               8.     A medical provider was required to enroll with the Medicare program in

order to submit claims for payment to CMS. To enroll in the Medicare program, a medical

provider was required to enter into an agreement with CMS in which the provider agreed to

comply with all applicable statutory, regulatory, and program requirements for reimbursement

from Medicare. By signing the Medicare enrollment application, the provider certified that the

provider understood that payment of a claim was conditioned on the claim and the underlying

transaction complying with Medicare regulations, Medicare program instructions, the law, and

on the provider’s compliance with all applicable conditions of participation in Medicare.

               Other Insurance Programs

               9.     The Office of Personnel Management (“OPM”) served as the chief human

resources agency and personnel policy manager for the federal government. Among its many

duties, OPM managed the Federal Employees Health Benefits Program (“FEHBP”). FEHBP

benefits were afforded to all federal employees and their family members who chose from over

300 FEHBP contracted health insurance carriers. Benefits were administered by private

insurance companies and paid for, in large part, by OPM. A medical provider must have been

enrolled with OPM as a participating provider in order to submit claims to OPM for medical

services to federal employees and their family members.

               10.    Independence Blue Cross (“IBC”) was a private insurance company that

offered health insurance plans for individuals and families throughout Southeastern

Pennsylvania. IBC was the largest health insurer in the Philadelphia area and offered a wide

variety of health plans, including managed care and traditional indemnity insurance. A medical



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provider must have been enrolled with IBC as a participating provider in order to submit claims

to IBC for medical services.

               11.     Like Medicare, OPM and IBC required that any drug prescribed by a

participating provider must be safe and effective and otherwise reasonable and necessary.

According to OPM and IBC, drugs that were approved for marketing by the FDA were

considered safe and effective for purposes of this requirement when used as specified on the

labeling.

               The Federal Food, Drug, and Cosmetic Act

               12.     The Federal Food, Drug, and Cosmetic Act (“FDCA”), protected the

public from, among other things, drugs that were misbranded, adulterated, or otherwise unsafe.

A drug or device was misbranded if it failed to bear the FDA-approved label or if the label was

not in the English language. The FDA enforced the FDCA and its responsibilities included

regulating the manufacture and distribution of drugs shipped or received in interstate commerce.

               13.     A “drug,” among other things, included articles intended for use to

diagnose, cure, mitigate, treat, or prevent a disease, or to affect the structure or any function of

the body. A “prescription drug,” among other things, was a drug which, because of its toxicity

or other potential harmful effect, or because of its method of use, was unsafe except under the

supervision of a licensed practitioner.

               Relevant Drugs

               14.     Remicade was an antibody biologic prescription drug that was used to

treat numerous conditions, including rheumatoid arthritis, psoriatic arthritis, ulcerative colitis,




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Crohn's disease, and ankylosing spondylitis. 1 It was administered by a health care professional

through intravenous infusion.

                 15.   Orencia was a biologic prescription drug that was used to treat rheumatoid

arthritis. It was administered by a health care professional through intravenous infusion.

                 16.   Prolia/Xgeva, were biologic injections that were used to treat osteoporosis.

Both injections were administrated by a health care professional.

                 17.   Synvisc and Synvisc-One were biologic injections that were used to treat

knee osteoarthritis. Both injections were administered by a health care professional: Synvisc was

comprised of a series of three injections, while the newer Synvisc-One® was comprised of only

one injection.

                 18.   Boniva was an injectable prescription drug that was used to treat

osteoporosis. It was administered by a health care professional through intravenous infusion.

                 The Fraudulent Scheme

                 19.   From in or about January 2014 to in or about March 2018, defendant

THOMAS J. WHALEN agreed with others known and unknown to the United States to execute,

and executed, a scheme to enrich himself and others, as follows:

                        a.      by purchasing, importing, and distributing non-FDA approved

misbranded injectable medications;

                        b.      by providing beneficiaries with non-FDA approved injectable

medications; and




1
 A biologic is a drug made from complex molecules manufactured using living cells. While
most drugs are chemicals synthesized from other chemicals, biologics are much more expensive
due to their complex manufacturing process.

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                       c.     by submitting and causing to be submitted claims to Medicare,

OPM, IBC and other health care benefit programs, for the provision of injectable medications,

specifically, Remicade, Orencia, Prolia/Xgeva, Synvisc and SynviscOne, and Boniva, when, in

fact, non-FDA approved misbranded injectable medications were provided to the beneficiaries.

               20.    From in or about January 2014 to in or about March 2018, defendant

THOMAS J. WHALEN together with others, submitted and caused to be submitted

approximately $2.3 million in claims to Medicare, OPM, IBC and other health care benefit

programs for the provision of misbranded non-FDA approved prescription drugs, including

Remicade, Orencia, Prolia/Xgeva, Synvisc and SynviscOne, and Boniva, and was paid

approximately $1.1 million.

               21.    From at least in or about January 2014 to in or about March 2018, in the

Eastern District of Pennsylvania, and elsewhere, defendant

                                    THOMAS J. WHALEN,

knowingly and willfully executed, attempted to execute, and aided and abetted the execution of,

a scheme and artifice to defraud one or more health care benefit programs, as defined in Title 18,

United States Code, Section 24(b), that is, Medicare, OPM, and IBC, and to obtain, by means of

materially false and fraudulent pretenses, representations and promises, money and property

owned by, and under the custody and control of, Medicare, OPM, and IBC, in connection with

the delivery of and payment for health care benefits, items and services.

               All in violation of Title 18, United States Code, Sections 1347, and 2.




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                                          COUNT TWO

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               At all times material to the Information:

               1.      Paragraphs One through Twenty-One of Count One are incorporated here.

               2.      On or about March 20, 2018, in the Eastern District of Pennsylvania, and

elsewhere, defendant

                                     THOMAS J. WHALEN

fraudulently and knowingly imported and brought into the United States, and aided and abetted

the importation into the United States of, merchandise contrary to law, that is, vials of

misbranded Remicade that were not FDA approved.

               All in violation of Title 18 United States Code, Sections 545, and 2.




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                                COUNTS THREE AND FOUR

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               At all times material to the Information:

               1.      Paragraphs One and Two of Count One are incorporated here.

               The Controlled Substances Act

               2.      The Controlled Substances Act (“CSA”) governed the manufacture,

distribution, and dispensation of controlled substances in the United States.         With limited

exceptions for medical professionals, the CSA made it unlawful for any person to knowingly or

intentionally manufacture, distribute, or dispense a controlled substance or conspire to do so.

               3.      Medical practitioners, such as physicians, who were authorized to prescribe

controlled substances by the jurisdiction in which they were licensed to practice medicine, were

authorized under the CSA to prescribe or otherwise distribute controlled substances, if they were

registered with the Attorney General of the United States. 21 U.S.C. § 822(b); 21 C.F.R. §

1306.03. A medical practitioner must have been registered with the DEA in order to prescribe

controlled substances.     Upon application by the practitioner, the DEA assigned a unique

registration number to each qualifying medical practitioner.

               4.      Chapter 21 of the Code of Federal Regulations, Section 1306.04, which

governed the issuance of prescriptions, provided that a prescription for a controlled substance must

be issued for a legitimate medical purpose by an individual practitioner acting in the usual course

of his professional practice.

               5.      The CSA and its implementing regulations set forth which drugs and other

substances were defined by law as “controlled substances,” and assigned those controlled

substances to one of five schedules (Schedule I, II, III, IV, or V) depending on their potential for

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abuse, likelihood of physical or psychological dependency, accepted medical use, and accepted

safety for use under medical supervision.

               6.       A controlled substance assigned to Schedule II had a high potential for

abuse, was highly addictive, and had a currently accepted medical use in treatment in the United

States or a currently accepted medical use with severe restrictions. Abuse of a Schedule II

controlled substance could have led to severe psychological and/or physical dependence.

Pursuant to the CSA and its implementing regulations, oxycodone was classified as a Schedule II

controlled substance.

               7.       Defendant THOMAS J. WHALEN prescribed Schedule II controlled

substances outside the usual course of professional practice and not for a legitimate medical

purpose to patients. Specifically, defendant WHALEN prescribed oxycodone to patients despite

having received and reviewed urine drug screening test results for these patients that contained

negative results for the controlled substances that defendant WHALEN prescribed for the

patients and/or positive results for illicit drugs, such as heroin and cocaine.

               8.       On or about each of the dates listed below, in the Eastern District of

Pennsylvania, and elsewhere, defendant

                                     THOMAS J. WHALEN,

knowingly and intentionally distributed and dispensed, outside the course of professional

practice and not for a legitimate medical purpose, a mixture and substance containing a

detectable amount of a Schedule II controlled substance (each distribution constituting a separate

count of this Information):




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           APPROXIMATE
               DATES               PATIENT’S                              APPROXIMATE
COUNT                                                 SUBSTANCE
                 OF                 INITIALS                                 WEIGHT
           DISTRIBUTION
  3        February 2016 to             J.J.            Oxycodone               24.98 g
              April 2018
  4        November 2016 to            D.M.             Oxycodone               28.28 g
            September 2017


          All in violation of Title 21, United States Code, 841(a)(1), (b)(1)(C).




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                                 NOTICE OF FORFEITURE #1

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               1.      As a result of the violation of Title 18, United States Code, Section 1347,

set forth in this Information, the defendant

                                     THOMAS J. WHALEN

shall forfeit to the United States of America any property that constitutes or is derived, directly

or indirectly, from gross proceeds traceable to the commission of such offense, including, but not

limited to, the sum of $1,116,845.02.

               2.      If any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the Court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property subject to forfeiture.

               All pursuant to Title 18, United States Code, Section 982(a)(7).




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                                 NOTICE OF FORFEITURE #2

THE GRAND JURY FURTHER CHARGES THAT:

               1.      As a result of the violation of Title 21, United States Code, Section

841(a)(1), (b)(1)(C), set forth in this Information, the defendant

                                             THOMAS J. WHALEN

shall forfeit to the United States of America:

                       (a)     any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such violations; and

                       (b)     any property constituting, or derived from, proceeds obtained,

directly or indirectly, from the commission of such violations.

               2.      If any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the Court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to




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seek forfeiture   of any other property of the defendant up to the value of the property subject to

forfeiture.

                  All   pursuant to Title 21, United States Code, Section 853.




                                                             LLIAM M. MCSWAIN
                                                          United States Attomey
                                                          Eastern District of PennsYlvania




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